Case 8:10-cv-00018-JVS-VBK Document 84-1 Filed 08/08/11 Page 1 of 2 Page ID #:1492



    1   JOHN W. COTTON, SBN 54912
        jcotton@cgllp.com
    2   COTTON & GUNDZIK LLPnd
        624 South Grand Avenue, 22 Floor
    3   Los Angeles, CA 90017
        Telephone: 213/312-1330
    4   Telecopy: 213/623-6699
    5
        Receiver for Cherokee Gas Systems, Inc.
    6

    7

    8                           UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
   10

   11
        SECURITIES AND EXCHANGE                         Case No.: SACV 10-0018 JVS (ANx)
   12
        COMMISSION,
                                                        [PROPOSED] ORDER RE
   13
                       Plaintiff,                       RECEIVER’S MOTION FOR
                                                        PAYMENT OF FEES AND COSTS
   14
              v.
   15
        THOMAS A. LABRY and
   16   CHEROKEE GAS SYSTEMS, INC.,
   17                  Defendants.
   18

   19

   20
              The Court has considered the Receiver’s Final Report and Memorandum in
   21
        Support of Motion to (1) Approve a Final Report and Accounting; (2) Approve a
   22
        Pro Rata Distribution of Assets to Investors; (3) Authorize the Abandonment and
   23
        Destruction of Documents and Records; (4) Relieve the Receiver from Further
   24
        Duties and Liabilities; and (5) Approve the Receiver’s request for payment of fees
   25
        and disbursements. The Court hereby grants the motion as follows:
   26
              (a) The Court approves the Receiver’s Final Report and Accounting;
   27
              (b) The Court approves the Receiver’s recommendation for a pro rata
   28
                   distribution of remaining estate assets to investors;


                                                    0
                   [PROPOSED] ORDER RE RECEIVER’S MOTION FOR PAYMENT OF FEES AND COSTS
Case 8:10-cv-00018-JVS-VBK Document 84-1 Filed 08/08/11 Page 2 of 2 Page ID #:1493



    1         (c) The Court authorizes the Receiver to destroy any and all records after
    2            providing the SEC with 120 days notice;
    3         (d) The Court authorizes the Receiver to dispose of the Remington sculpture
    4            and assorted computer equipment as set forth in this Final Report;
    5         (e) The Court hereby relieves the Receiver from any further duties and
    6            liabilities after the distribution referred to in ( c) above; and
    7         (f) The fees and expenses described in the motion in the amount of
    8            $8,797.13 are approved and the Receiver is authorized to pay those fees
    9            and expenses from the assets of the receivership estate.
   10

   11

   12

   13   Dated: _________________                _____________________________
                                                The Honorable James V. Selna
   14
                                                United States District Court Judge
   15   DATED: August 8, 2011
   16   COTTON & GUNDZIK LLP
   17

   18

   19   __________/s/______________
   20    John W. Cotton
   21   Receiver for Cherokee Gas Systems, Inc.
   22

   23

   24

   25

   26

   27

   28




                                                  1
                [PROPOSED] ORDER RE RECEIVER’S MOTION FOR PAYMENT OF FEES AND COSTS
